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8                          UNITED STATES DISTRICT COURT
9                        CENTRAL DISTRICT OF CALIFORNIA
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11   PANAGIOTIS THEODOROPOULOS,                Case No. 2:19-cv-00417-JGB (KES)
12                Plaintiff,
13          v.                                            JUDGMENT

14   COUNTY OF LOS ANGELES, et al.,
15                Defendants.
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18         Pursuant to the Court’s Order Accepting Report and Recommendation of U.S.
19   Magistrate Judge,
20         IT IS ADJUDGED that the Third Amended Complaint and the entire action is
21   dismissed with prejudice.
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24   DATED: October 20, 2020             ____________________________________
25                                       JESUS G. BERNAL
                                         UNITED STATES DISTRICT JUDGE
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